      Case: 1:25-cv-07136 Document #: 1-10 Filed: 06/26/25 Page 1 of 1 PageID #:317




                ISS Action - The Gold Standard of Security



To:            Tucson Sector ISS Action Staff

From:          Hannah Schuster (Daphna), Esq.
               Director of Legal & Compliance

Subj:          ISS Action Extension Noice


To Whom It May Concern:

ISS Action wanted to provide you with confirmation regarding the current status of its
contract with Customs and Border Protection (CBP).

As of today, ISS Action’s contract remains in place until April 13, 2025. Additionally, the
government has indicated to us directly that it highly likely that the current contract will
be extended until at least August 12, 2025.



Additional extensions are also possible.



If you have any further questions or need additional details, please feel free to reach
out.




Sincerely,

Hannah Schuster (Daphna), Esq.
Director of Legal & Compliance




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